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FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG -3 AH l ,._ 26

 

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GAVIN NEWSOME, cHARIssA 999

 

NEWSOME, and DESTINY NEWSOME,
Minors by HAZEL D. THOMPSON, Guardian
and NeXt Friend.
Plaintiff,
v. No. 04-2752 B V

PRIMERlCA LIFE INSURANCE COMPANY
and STEVE A. STOKES,

Defendants.

 

ORDER GRANTING PRIMERICA'S MOTION TO COMPEL
AND DEEMING ADMITTED REQUESTS FOR ADMISSION

 

This matter came before the Court upon the Motion submitted by Prirnerica seeking to
compel answers and responses to its First Set of lnterrogatories and Requests for Production, and
to deem admitted certain Requests for Admission; the Certit`lcate of Consultation filed by
counsel for Primerica; and the entire record herein.

lt appearing that there is good cause to grant the Motion for the reasons stated therein.

IT IS HEREBY ORDERED, ADJU]]GED, AND DECREED that:

l. Plaintiffs shall serve answers and responses to Primerica's First Set of

lnterrogatories and Requests for Production Withjn ten (10) days of entry of this Order; and,

 

2. Primerica‘s Requests for Admission are deemed admitted pursuant to Rule 36.
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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02752 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

